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    UNITED STATES DISTRICT COURT
    EASTERN DISTRICT OF NEW YORK


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    In re PAYMENT CARD INTERCHANGE       :   MDL No. 1720(MKB)(VMS)
    FEE AND MERCHANT DISCOUNT            :
    ANTITRUST LITIGATION                 :   Civil No. 05-5075(MKB)(VMS)
                                         :
                                         :   RULE 23(b)(3) CLASS COUNSEL’S
                                         :   MONTHLY REPORT REGARDING THIRD-
    This Document Relates To:                PARTY ENTITIES
                                         :
             ALL ACTIONS.                :
                                         :
                                         x




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    I.       INTRODUCTION

             This is the second monthly report regarding third-party claims filers following the Court’s

    request.

             As Rule 23(b)(3) Class Counsel (“Class Counsel”) reported in October, with the claims

    process ramping up, there has been a small, but noticeable increase in class member calls. In

    addition, we have become aware of several law firms recently advertising services related to claims

    filing in this case. And, as discussed below, we recently became aware of a website that attempts to

    mirror the official Court-authorized website. This website is highly misleading and possibly

    fraudulent.

             Class Counsel expects more new entrants as the claims process moves forward. To that end,

    we are increasing our monitoring efforts and Epiq Systems, Inc. (“Epiq” or the “Class

    Administrator”) continues to alert Class Counsel to new issues as they arise in addition to the

    monthly reporting process already in place.

             Class Counsel has updated the current call center scripts to add additional information

    regarding third parties. As part of other education and outreach programs, we are working on

    messaging regarding third-party claims filers as well.

    II.      CURRENT THIRD-PARTY ISSUES

             A.         Marketing Issues

             On October 30, 2023, Class Counsel was alerted to a website and marketing campaign that is

    highly suspicious. The website, settlement2023.org, is privately registered according to the WHOIS

    domain database so detailed contact information has so far been limited to an “info@” address. See

    Ex. 1. The website has copied the home page of the official website in many respects, including

    Epiq’s P.O. Box. The website states: “All businesses processing Visa/Mastercard transactions from


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    January 1, 2004 to January 25, 2019 must participate in the settlement case.” See Ex. 2. There is a

    button that then leads to a calculator page that purports to show a “[s]ettlement [a]mount

    [e]stimator.” See Ex. 3. Then there is a button that says “[p]rocess [s]ettlement.” See id. This then

    leads to another page that states: “[g]et [s]ettlement in 2 [s]imple [s]teps.” See Ex. 4 at 1. Step one

    states: “Speak with a settlement specialist to go over your documents and get your confirmed

    disbursement amount.” Id. Then an appointment must be booked. See id. at 1-2. This website was

    brought to our attention because another company received a voicemail purportedly from rap legend

    Snoop Dogg that promotes the settlement and leads to the settlement2023.org website. See Ex.

    5 (voicemail transcript).

             Epiq has filed a report of abuse with the host of the website (GoDaddy.com) and it is

    expected the website will soon be taken down. As of 3:00 p.m. Eastern Time today, the website

    remains accessible. Class Counsel set-up an “appointment” with the company to hopefully get in

    touch with the business operators and have them cease their misleading conduct. See Ex. 4 at 1-2.

    After setting up an appointment, counsel received an email with additional questionable statements.

    See Ex. 6. That email included an email contact address as well directions to upload merchant

    processing statements. See id. Class Counsel wrote a letter to the email address provided noting the

    false and misleading statements and requesting the company cease and desist. See Ex. 7. Class

    Counsel also uploaded the text of the letter following the directions regarding uploading merchant

    processing statements. See Exs. 8-9. Another email was sent October 31, 2023 with no response

    received. Three additional emails were sent to the contact address on November 1, 2, and 3, 2023.

    No responses have been received.

             Class Counsel will continue to try to reach a representative of the company. Class Counsel

    requests the Court issue an Order to show cause, based on the materials provided here. The email

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    addresses found to date related to this entity have not bounced back so any Order to show cause

    would be sent to the addresses discovered and could also be uploaded to the portal the company

    promotes on its site.

             Additionally, Class Counsel has continued to see an increase in questions and concerns from

    class members regarding other third-party claims filers. In the past two weeks Class Counsel has

    reached out to several third-party claims filers to request changes to marketing materials that were

    either incorrect, misleading, or both. Class Counsel has had detailed back and forth communications

    with four separate entities (law firms and third-party claims filers) regarding incorrect or misleading

    materials that have come to our attention. In each case, the corrections were swiftly made and at this

    time no Court intervention is requested. Class Counsel has seen a number of law firms recently

    getting involved in the third-party claims filing business and had contact with three firms that had

    incorrect or misleading materials as part of their marketing materials. All 3 firms made the

    requested changes within 24 hours.

             Class Counsel has planned a conference call for all known third-party claims filers and law

    firms involved in claims filing on November 17, 2023 to go over issues, answer questions, and

    provide updated disclaimer language.1

             The new proposed disclaimer language (to be required by December 1, 2023) is set forth

    below:

             1.         Claim forms are being delivered and are available online beginning December 1,

    2023.




    1
        The conference call invitation was sent to more than 190 email addresses. The call will be held
    November 17, 2023, at 11:00 a.m. Pacific Time / 2:00 p.m. Eastern Time. The call-in information is
    as follows: 1-800-504-8071; access code 7444955#.

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             2.         Class members need not sign up for a third-party service in order to participate in any

    monetary relief.

             3.         No-cost assistance is available from the Class Administrator and Class Counsel

    during the claims-filing period.

             4.         Information    directing   class    members     to   the   Court-approved     website

    www.paymentcardsettlement.com for additional information.

             B.         Outreach to Third Parties

             As Class Counsel reported in October, since August 18, 2023, Epiq has been performing

    specific outreach efforts to known third-party claims filers. An email was sent to 134 third-party

    claims filers. As of the end of October, Epiq has been in communication with 60 third-party claims

    filers following the outreach that took place on August 18, 2023. Of those 60 third-party claims

    filers, Epiq has received client lists from 31 third-party claims filers which claim representation of

    121,058 Tax Identification Numbers (“TINs”)/Legal Entities. These client lists also include multiple

    rows for a single TIN, and multiple rows that lack TINs. Of those 31 third-party claims filers, Epiq

    has received 29,025 documents from 25 third-party claims filers. Several third-party claims filers

    have combined their documentation into a single .pdf that covers multiple clients, so the true number

    is likely higher than the document count can substantiate.               Work continues, including the

    development of processes to efficiently handle the expected increase in third-party claims.




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    III.     CONCLUSION

             Class Counsel will continue to apprise the Court regarding issues with third-party claims

    filers via monthly reports and will bring urgent matters to the Court’s attention via letter or other

    means should the Court wish a different method to be used. The next monthly report will be filed on

    December 8, 2023.

    DATED: November 3, 2023                       ROBBINS GELLER RUDMAN
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